                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 TRUE VALUE COMPANY, L.L.C.

                        Plaintiff,                     Case No. 1:24-cv-01334

                                v.                     Judge Charles Kocoras

 FREUD AMERICA, INC. and
 ORGILL, INC.


                        Defendants.


                 PLAINTIFF’S MOTION TO REMAND AND
                            RESPONSE TO
     JOINT MOTION TO CONDUCT LIMITED JURISDICTIONAL DISCOVERY

       Plaintiff True Value Company, L.L.C. (“True Value”), by and through its undersigned

counsel and pursuant to 28 U.S.C. § 1447(c), hereby moves to remand this case to the Circuit Court

of Cook County, Illinois. As set forth in greater detail in the accompanying Memorandum of Law,

Defendant Freud America, Inc. (“Freud”) and Orgill, Inc. (“Orgill”) admit that none of the parties

to the case can state with certainty what True Value’s complete jurisdictional citizenship is, and,

in fact, Defendants have filed a Motion with this Court seeking to issue multiple third-party

subpoenas in an effort to answer that question. (Dkt. No. 10). Defendants cannot assert that

diversity exists, then, and the Court lacks jurisdiction to oversee the discovery that Defendants are

seeking leave to conduct. Moreover, the discovery that Defendants have proposed to issue will

only confirm that True Value’s ultimate citizenship, based on the citizenship of its direct and

indirect owners, includes Tennessee and North Carolina, which negates diversity and forecloses

the Court’s exercise of subject-matter jurisdiction. And because True Value asserts that the Court

lacks subject-matter jurisdiction over the case and it is subject to remand, it necessarily opposes


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Defendants’ Joint Motion to Conduct Limited Jurisdictional Discovery (Dkt. No. 10), and this

pleading also will serve as its Response to that Motion. Finally, the Court should award True

Value its attorneys’ fees pursuant to 28 U.S.C. § 1447(c).

       WHEREFORE, for all of the reasons stated in the accompanying Memorandum and

supporting Declaration, True Value respectfully requests that the Court remand the case to the

Circuit Court of Cook County, Illinois, deny as moot Defendants’ Joint Motion to Conduct Limited

Discovery, and award True Value its attorneys’ fees.



Dated: March 1, 2024                                 TRUE VALUE COMPANY, L.L.C.

                                                     /s/ Matthew J. Kramer

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                                                     Attorneys For True Value Company, L.L.C.




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                               CERTIFICATE OF SERVICE

       The undersigned, an attorney, certifies that he caused a true and correct copy of the

foregoing Motion to Remand and Response to Defendants’ Joint Motion to Conduct Limited

Jurisdictional Discovery to be served upon the attorneys of record herein via the Court’s

electronic filing system on March 1, 2024.



                                             By:   /s/   Matthew J. Kramer
                                                         Matthew J. Kramer




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